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                                 MINUTE ORDER



 CASE NUMBER:             CRIMINAL NO. 17-00101 LEK
 CASE NAME:               USA vs. Anthony T. Williams


       JUDGE:      Leslie E. Kobayashi            DATE:             2/18/2020

COURT ACTION: EO: ORDER DENYING MOTION FOR JUDGMENT OF
ACQUITTAL PURSUANT TO RULE 29, FED. R. CRIM. P.

      On February 18, 2020, pro se Defendant Anthony T. Williams (“Defendant”) filed
his Motion for Judgment of Acquittal (“Motion”) in open court. Oral argument was held.

        In considering a motion pursuant to Rule 29, Fed. R. Crim. P., this Court is bound
by the following standard: “A motion for Judgment of Acquittal is reviewed on a
sufficiency-of-the-evidence standard.” United States v. Stoddard, 150 F.3d 1140, 1144
(9th Cir. 1998). “[E]vidence supports a conviction, if, viewed in the light most favorable
to the government, it would allow any rational trier of fact to find the essential elements
of the crime beyond a reasonable doubt.” Id. (citation omitted).

        After reviewing for sufficiency of the evidence, the Court concludes that the
evidence presented by Plaintiff United States of America (“the Government”) supports a
conviction, if, viewed in the light most favorable to the Government, because it would
allow a rational trier of fact to find the essential elements of the crime beyond a
reasonable doubt. The Court finds that the Government has presented sufficient evidence
as to the allegations in the Superseding Indictment, [filed 3/28/18 (dkt. no. 154),] and thus
Defendant’s Motion pursuant to Rule 29, Fed. R. Crim. P. is HEREBY DENIED.

       IT IS SO ORDERED.



Submitted by: Agalelei Elkington, Courtroom Manager
